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                  EXHIBIT 1
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                   11
                        Counsel for Defendant Meta Platforms, Inc.
                   12

                   13                              UNITED STATES DISTRICT COURT

                   14                           NORTHERN DISTRICT OF CALIFORNIA

                   15
                        RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC
                   16
                           Individual and Representative Plaintiffs,   DEFENDANT META PLATFORMS, INC.’S
                   17                                                  OBJECTIONS AND RESPONSES TO
                               v.                                      PLAINTIFFS’ FIRST SET OF REQUESTS FOR
                   18                                                  PRODUCTION
                        META PLATFORMS, INC., a Delaware
                   19   corporation;
                                                                       Trial Date: None
                   20                                   Defendant.     Date Action Filed: July 7, 2023

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COOLEY LLP
ATTORNEYS AT LAW                                                                              META’S OBJ & RESPS TO
                                                                                            PLTFS’ FIRST SET OF RFPD
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                    1   PROPOUNDING PARTY:          PLAINTIFFS RICHARD KADREY, SARAH SILVERMAN, CHRISTOPHER
                                                    GOLDEN, MICHAEL CHABON, TA-NEHISI COATES, JUNOT DÍAZ,
                    2                               ANDREW SEAN GREER, DAVID HENRY HWANG, MATTHEW KLAM,
                    3                               LAURA LIPPMAN, RACHEL LOUISE SNYDER, AYELET WALDMAN,
                                                    AND JACQUELINE WOODSON
                    4
                        RESPONDING PARTY:           DEFENDANT META PLATFORMS, INC.
                    5
                        SET NUMBER: ONE             ONE
                    6

                    7          Pursuant to Federal Rules of Civil Procedure Rules 26 and 34, and Local Rule 34, Defendant

                    8   Meta Platforms, Inc. (“Meta”) responds as follows to Plaintiffs Richard Kadrey, Sarah Silverman,

                    9   Christopher Golden, Michael Chabon, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David

                   10   Henry Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder, Ayelet Waldman, and

                   11   Jacqueline Woodson’s (“Plaintiffs”) First Set of Requests for Production (“Requests”).

                   12   I.     RESPONSES TO ALL REQUESTS
                   13          1.      Meta’s responses to the Requests are made to the best of Meta’s present knowledge,

                   14   information, and belief. Said responses are at all times subject to such additional or different

                   15   information that discovery or further investigation may disclose, and Meta reserves the right to

                   16   amend, revise, correct, supplement, or clarify the responses and objections propounded herein.

                   17          2.      Meta reserves the right to make any use of, or to introduce at any hearing and at

                   18   trial, documents responsive to the Requests but discovered subsequent to the date of Meta’s initial

                   19   production, including, but not limited to, any documents obtained in discovery herein.

                   20          3.      To the extent that Meta agrees to produce documents in response to any Requests,

                   21   Meta will respond with responsive, non-privileged information currently in its possession, custody,

                   22   or control. Meta has no duty to produce or identify information outside of its possession, custody

                   23   or control. By stating in these responses that Meta will produce documents or is searching for

                   24   documents, Meta does not represent that any document actually exists, but rather that it will make

                   25   a good faith search and reasonable inquiry to ascertain whether documents responsive to these

                   26   Requests do, in fact, exist and to produce such documents if they are found to exist and are within

                   27   Meta’s possession, custody, or control.

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                                                                        1                         PLTFS’ FIRST SET OF RFPD
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                    1          4.      To the extent that Meta responds to a Request by stating that Meta will provide
                    2   documents that Meta deems to embody material that is private, business confidential, proprietary,
                    3   trade secret, or otherwise protected from disclosure pursuant to Federal Rule of Civil Procedure
                    4   26(c) and/or Federal Rule of Evidence 501, Meta will only do so subject to the parties’ stipulated
                    5   protective order governing the unauthorized use or disclosure of such information or documents
                    6   with a designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES
                    7   ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” distinction (ECF No. 90, the
                    8   “Protective Order”).
                    9          5.      The provision of a response to any of these Requests does not constitute a waiver of
                   10   any objection regarding the use of said response in these proceedings. Meta reserves all objections
                   11   or other questions as to the competency, relevance, materiality, privilege or admissibility as
                   12   evidence in any subsequent proceeding in or trial of this or any other action for any purpose
                   13   whatsoever of this response and any document or thing produced in response to the Requests.
                   14          6.      Meta reserves the right to object on any ground and at any time to such other or
                   15   supplemental requests for production that Plaintiffs may propound involving or relating to the
                   16   subject matter of these Requests.
                   17          7.      Unless otherwise stipulated in a production protocol or ordered by the Court, Meta
                   18   will produce each document in response to these Requests in a form in which it is ordinarily
                   19   maintained or in a reasonably usable form.
                   20   II.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS
                   21          Whether or not separately set forth in response to each Request, Meta makes these
                   22   objections to the following Instructions and Definitions.
                   23          1.      Meta objects to the definition of “Agreement” as overbroad and unduly burdensome
                   24   to the extent that it encompasses oral contracts, arrangements, or understandings, including those
                   25   that are informal. Meta further objects to the definition of “Agreement” as vague, ambiguous, and
                   26   unintelligible as to the term “modifications” to the extent it is intended to mean something distinct
                   27   from “versions” or “amendments.” Meta will construe “Agreement” to mean written contracts,
                   28   including drafts, versions, amendments, exhibits, and appendices thereof.
COOLEY LLP
ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
                                                                         2                          PLTFS’ FIRST SET OF RFPD
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                    1   attached thereto. In the context of this Request, Meta will construe this phrase to mean documents,
                    2   other than those subject to the procedure for requesting electronic communications under the ESI
                    3   Order.
                    4            Meta objects to this Request because, on its face, it does not exclude documents and
                    5   communications exchanged with or at the direction of Meta’s attorneys concerning legal advice or
                    6   opinions, which are subject to attorney-client privilege and/or attorney work product doctrine. Such
                    7   documents will not be produced.
                    8            Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the
                    9   needs of the case as it seeks “[a]ll” documents concerning the subject matter of the Request,
                   10   including documents with limited, if any, relevance to Plaintiffs’ copyright infringement allegations
                   11   and Meta’s defenses thereto.
                   12            Subject to and without waiving the foregoing objections, and pursuant to the terms of the
                   13   Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-
                   14   privileged, relevant documents in its possession, custody, or control sufficient to show the
                   15   individuals granted or denied access to Llama 1 and Llama 2. Any such production shall be on a
                   16   rolling basis, and the timing of any such production shall be governed by terms of the Scheduling
                   17   Order (ECF No. 87).
                   18
                        Dated: February 23, 2024                                COOLEY LLP
                   19

                   20
                                                                           By: /s/ Judd Lauter
                   21                                                         Judd Lauter
                                                                              Bobby Ghajar
                   22                                                         Mark Weinstein
                                                                              Kathleen Hartnett
                   23                                                         Colette Ghazarian

                   24                                                           Attorneys for Defendant
                                                                                META PLATFORMS, INC.
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COOLEY LLP
ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
                                                                         54                         PLTFS’ FIRST SET OF RFPD
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                    1                                         PROOF OF SERVICE
                    2          I am a citizen of the United States and a resident of the State of California. I am employed

                    3   in Santa Clara County, State of California, in the office of a member of the bar of this Court, at

                    4   whose direction the service was made. I am over the age of eighteen years, and not a party to the

                    5   within action. My business address is Cooley LLP, 3175 Hanover Street, Palo Alto, California

                    6   94304-1130. On the date set forth below I served the documents described below in the manner

                    7   described below:

                    8
                                      DEFENDANT META PLATFORMS, INC.’S OBJECTIONS AND RESPONSES TO
                    9                  PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION
                   10
                              (BY  ELECTRONIC MAIL) I am personally and readily familiar with the business
                                practice of Cooley LLP for the preparation and processing of documents in
                   11                  portable document format (PDF) for e-mailing, and I caused said documents to be
                                       prepared in PDF and then served by electronic mail to the parties listed below.
                   12
                        on the following part(ies) in this action:
                   13

                   14          Executed on February 23, 2024, at Palo Alto, California.

                   15

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                                                                                  Jessica G. Alvarez-Lopez
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COOLEY LLP
ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                                                                                                          3:23-CV-03417-VC
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                        Aaron Cera
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                        Plaintiffs and the Proposed Class
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                                                                          Attorneys for Defendant
                   19                                                     META PLATFORMS, INC.
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ATTORNEYS AT LAW                                                                                META’S OBJ & RESPS TO
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